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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                )
ELBERT LEE BROWN, et al.,                       )
                                                )
                                                )
                Plaintiff,                      )
                                                )
                v.                              )        No. 15-cv-1380 (KBJ)
                                                )
GOVERNMENT OF THE DISTRICT                      )
OF COLUMBIA,
                                                )
                Defendant.                      )
                                                )

                                               ORDER

        This Court has considered Defendant District of Columbia’s [63] Motion to

Dismiss Plaintiffs’ Fifth Amended Complaint and the memoranda of law that the parties

have submitted with respect to the motion. (See ECF Nos. 63, 64, 65.) The Court has

also taken into account that Plaintiff Louis Sylvester White has voluntarily dismissed

his claim, which appears as Claim 2 of the operative complaint. (See Pls.’ Fifth Am.

Compl., ECF No. 61, at ¶¶ 184–95 (naming White as the sole plaintiff in Claim 2).) 1

The Court has reached the following conclusion regarding the disposition of

Defendant’s motion to dismiss; its reasoning will be set forth in a Memorandum

Opinion to be issued shortly, absent unforeseen circumstances.

        It is hereby



1
 White voluntarily dismissed his claims in this action pursuant to Federal Rule of Civil Procedure
41(a)(1) on May 30, 2018. (See Pl. White’s Notice of Dismissal of All Claims, ECF No. 62.)
Therefore, as the remaining Plaintiffs agree, there is no longer a Claim 2 for the Court to dismiss. (See
Pls.’ Opp’n to Def.’s Mot. to Dismiss, ECF No. 64, at 48 (citing Miniter v. Sun Myung Moon, 736 F.
Supp. 2d 41, 44 n.7 (D.D.C. 2010)).)
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      ORDERED that [63] Defendant’s Motion to Dismiss is DENIED.

      This Order shall not be deemed a final Order subject to appeal until the Court has

issued its Memorandum Opinion. Cf St. Marks Place Hous. Co. v. U.S. Dep’t of Hous.

& Urban Dev., 610 F.3d 75, 80–82 (D.C. Cir. 2010).


DATE: March 29, 2019                           Ketanji Brown Jackson
                                               KETANJI BROWN JACKSON
                                               United States District Judge




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